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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                   CASE NO. 23-80101-CR-CANNON


   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   DONALD J. TRUMP and
   WALTINE NAUTA,

         Defendants.
   ________________________________/

                                  PROTECTIVE ORDER
                         PERTAINING TO CLASSIFIED INFORMATION

          This matter comes before the Court upon the Government’s Motion for Protective Order

   pursuant to Section 3 the Classified Information Procedures Act, 18 U.S.C. App. 3 (“CIPA”), to

   prevent the unauthorized use, disclosure, or dissemination of classified national security information

   and documents that will be reviewed by or made available to, or are otherwise in the possession of,

   defense counsel in this case.

          Pursuant to the authority granted under Section 3 of CIPA, the Security Procedures

   established pursuant to Pub. L. 96-456, 94 Stat. 2025, by the Chief Justice of the United States for

   the Protection of Classified Information (reprinted following CIPA § 9) (hereinafter the “Security

   Procedures”), the Federal Rules of Criminal Procedure 16(d) and 57, the general supervisory

   powers of the Court; and, in order to protect the national security, the Government’s Motion is
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   GRANTED and the following Protective Order is entered: 1

          1.      The Court finds that this case will involve information that has been classified in

   the interest of national security. The storage, handling, and control of this information will require

   special security precautions mandated by statute, executive order, and regulation, and access to

   this information requires appropriate security clearances and need-to-know, as set forth in

   Executive Order 13526 (or successor order) and under the Atomic Energy Act (“AEA”), 42 U.S.C.

   2011, et seq., that has been validated by the government. 2

          2.      The purpose of this Protective Order (“Order”) is to establish the procedures that

   must be followed by defense counsel, the parties, and all other individuals who receive access to

   classified information or documents in connection with this case. The procedures set forth in this

   Order shall apply to all pre-trial, trial, post-trial, and appellate matters concerning classified

   information in this case and may be modified from time to time by further order of the Court acting

   under this Court’s inherent supervisory authority to ensure a fair and expeditious trial. The

   government and the defense may also move for modification of this Order at any time for good

   cause shown.

          3.      Definitions. The following definitions shall apply to this Order:

                  a. “Government” or “the government” refers collectively to the Department of

   Justice prosecutors and support staff, as well as any law enforcement or intelligence community



   1
     The Court understands that the government may move for supplemental protective orders
   pursuant to CIPA and the Federal Rules of Criminal Procedure.
   2
     Any individual to whom classified information is disclosed pursuant to this Order shall not
   disclose such information to another individual unless the U.S. agency that originated that
   classified information has validated that the proposed recipient possesses an appropriate security
   clearance and need-to-know.
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   employees assisting in the prosecution of this matter.

                  b.   “Defense” or “defense team” refers collectively to the Defendants’ counsel

   and any support staff assisting the Defendants’ counsel authorized to receive classified information

   pursuant to this Order.3

                  c. “Classified information” shall include:

                          i.     Any document, recording, or information that has been classified by any

   Executive Branch agency in the interests of national security pursuant to Executive Order 13526,

   as amended, or its predecessor or successor orders, or under the AEA, as “CONFIDENTIAL,”

   “SECRET,” “TOP SECRET,” or “FORMERLY RESTRICTED DATA,” or additionally

   controlled as “SENSITIVE COMPARTMENTED INFORMATION” (“SCI”);

                          ii.     Any document, recording, or information now or formerly in the

   possession of a private party that (A) has been classified by the United States Government as set

   forth above, and/or (B) has been derived from information that was classified by the United States

   Government;

                          iii.    Verbal or other unwritten or unrecorded information known to the

   Defendants or the defense team that has been classified by the United States Government as set

   forth above;

                          iv.     Any information, regardless of its origin, that the defense knows or

   reasonably should know contains classified information, including information acquired or

   conveyed orally;



   3
     The Classified Information Security Officer (“CISO”) informed the government that certain
   defense counsel are currently approved for interim clearances. This Protective Order will apply
   to all defense counsel, both current and future, who possess the requisite clearance. Only
   defense counsel who possess the requisite clearance will have access to classified information.
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                           v.    Any document, recording, or information as to which the defense has

   been notified orally or in writing contains classified information; and

                           vi.    Any document, recording, or information that is classified, as set forth

   in (i), that has been approved by the United States government for limited authorized disclosure to

   the defense in criminal case United States v. Trump et al., 23-80101-CR-CANNON, pursuant to

   the restrictions set forth herein.   All classified information that is approved by the government or

   the Court for limited authorized disclosure to the defense that may also be shared with the

   Defendants will contain an appropriate classification marking and will be designated “Provided to

   DONALD J. TRUMP in United States v. Trump et al., 23-80101-CR-CANNON”; or “Provided to

   WALTINE NAUTA in United States v. Trump et al., 23-80101-CR-CANNON.”4

                   d.      “Document,” “materials,” and “information” shall include, but are not

   limited to:

                           i.    All written, printed, visual, digital, electronic, or audible matter of any

   kind, formal or informal, including originals, conforming copies, and non-conforming copies

   (whether different from the original by reason of notation made on such copies or otherwise), as

   well as metadata;

                           ii.       Notes    (handwritten,    oral,   or   electronic);   papers;   letters;

   correspondence; memoranda; reports; summaries; photographs; maps; charts; graphs; inter-office

   communications; notations of any sort concerning conversations, meetings or other



   4
     In the event that the government’s discovery obligations require disclosure of government
   information seized from the Defendants that has not been formally reviewed for classification,
   that information shall be handled as classified, consistent with this Order and the Memorandum
   of Understanding referred to herein, unless and until the government confirms that it is not
   classified. If the Court or a party to the case seeks to use or disclose information that has not
   been formally reviewed for classification, the Court and the parties shall address such use or
   disclosure pursuant to CIPA.
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   communications; bulletins; teletypes; telecopies; telegrams; telexes; transcripts; cables; facsimiles;

   invoices; worksheets and drafts; microfiche; microfilm; videotapes; sound recordings of any kind;

   motion pictures; electronic, mechanical or electric records of any kind, including but not limited

   to tapes, cassettes, disks, recordings, films, typewriter ribbons, word processing or other computer

   tapes, disks, or thumb drives and all manner of electronic data processing storage; and alterations,

   modifications, changes and amendments of any kind to the foregoing; and

                            iii.   Information obtained orally.

                  e.        “Access to classified information” shall mean having access to, reviewing,

   reading, learning, or otherwise coming to know in any manner classified information.

                  f.        “SCIF” shall refer to a sensitive compartmented information facility

   approved by a designated CISO for the storage, handling, and control of classified information.

                                           Classified Information

          4.      All classified documents or material and the information contained therein shall

   remain classified unless the documents or material bear a clear indication that they have been

   declassified by the agency or department that is the originating agency of the document, material,

   or information contained therein.

          5.      All access to classified information shall conform to this Order and the

   Memorandum of Understanding described herein.

          6.      The Defendants may disclose classified information to the defense as necessary for

   the preparation of their defense. Any classified information provided to the defense by the

   government or the Defendants are to be used solely by the defense and solely for the purpose of

   preparing the defense.

          7.      The defense may not disclose or cause to be disclosed in connection with this case

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   any information known or reasonably believed to be classified information except as otherwise

   provided herein. If the defense or the Defendants have any question regarding the disclosure of

   classified information, they shall consult with the CISO.

          8.      The defense may not disclose classified information to the Defendants unless that

   same information has been previously disclosed to the defense by the Defendants or provided by

   the government with markings indicating it may be disclosed to the Defendants.         The defense

   may not confirm or deny to the Defendants any assertions made by the Defendants based on

   knowledge the defense may have obtained from classified information.                Any classified

   information the defense discusses with the Defendants in any way shall be handled in accordance

   with this Order and the attached Memorandum of Understanding, including such requirements as

   confining all discussions, documents, and materials to an accredited SCIF.

          9.      The defense and the Defendants shall not disclose classified information to any

   person, except to the Court, government personnel who hold appropriate security clearances and

   have been determined to have a need-to-know that information, and those specifically authorized

   to access that information pursuant to this Order.

          10.     Information that is classified that also appears in the public domain is not thereby

   automatically declassified unless it appears in the public domain as the result of an official

   statement by a U.S. Government Executive Branch official who is authorized to declassify the

   information.   Individuals who, by virtue of this Order or any other court order, are granted access

   to classified information may not confirm or deny classified information that appears in the public

   domain. Prior to any attempt by the defense to have such information confirmed or denied in any

   public proceeding in this case, the defense must comply with the notification requirements of

   Section 5 of CIPA and all provisions of this Order.

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          11.     If classified information enters the public domain, the defense is precluded from

   making private or public statements where the statements would reveal personal knowledge from

   non-public sources regarding the classified status of the information, or would disclose that the

   defense had personal access to classified information confirming, contradicting, or otherwise

   relating to the information already in the public domain.        If there is any question whether

   information is classified, the defense must handle that information as though it is classified unless

   counsel for the government or the CISO confirms that it is not classified.

                                            Security Procedures

          12.     In accordance with the provisions of CIPA and the Revised Security Procedures,

   the Court has designated a CISO and alternate CISOs for this case (ECF No. 40), for the purpose

   of providing security arrangements necessary to protect against unauthorized disclosure of any

   classified information that has been made available to the defense in connection with this case.

   The defense shall seek guidance from the CISO with regard to appropriate storage, handling,

   transmittal, and use of classified information.

          13.     The government has advised the Court that certain Government attorneys working

   on this case, including Counselor to the Special Counsel Jay I. Bratt, Assistant Special Counsels

   Julie A. Edelstein and David V. Harbach, II, and their supervisors, have the requisite security

   clearances to have access to the classified information that counsel for the government intend to

   use, review, or disclose in this case.

          14.     The Court has been advised, through the CISO, that certain defense counsel are

   approved for interim security clearances, permitting them to have access to classified information

   designated as “CONFIDENTIAL,” “SECRET,” or “TOP SECRET,” including documents with



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   the following SCI compartments: SI, SI-G, and TK, for which they have a need-to-know. 5

          15.     Protection of Classified Information. The Court finds that to protect the classified

   information involved in this case, to the extent that counsel have the requisite security clearances

   and a “need-to-know” the classified information, they shall be given authorized access to classified

   national security documents and information as required by the government’s discovery

   obligations and subject to the terms of this Protective Order, the requirements of CIPA, the

   Memorandum of Understanding attached hereto, and any other Orders of this Court.

          16.     The Defendants have a continuing contractual obligation to the government not to

   disclose to any unauthorized person classified information known to them or in their possession.

   The government is entitled to enforce that agreement to maintain the confidentiality of classified

   information.   The Defendants are subject to this Court’s authority, contempt powers, and other

   authorities, and shall fully comply with any nondisclosure agreements they have signed, this Order,

   the Memorandum of Understanding, and applicable statutes.

          17.     No court personnel required by this Court for its assistance shall have access to

   classified information involved in this case unless that person shall first have received the

   necessary security clearance as determined by the CISO.

          18.     Any additional persons whose assistance the defense reasonably requires may only

   have access to classified information in this case if they are granted an appropriate security

   clearance through the CISO, obtain approval from this Court with prior notice of the identity of

   the additional persons to the U.S. government, and satisfy the other requirements described in this


   5
     We expect that defense counsel who currently are approved for interim security clearances will
   receive final clearances within 45-60 days and will promptly receive additional read-ins upon
   receiving such clearances, at which time they will also be able to access additional SCI
   compartments for which they have a need-to-know.
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   Order for access to classified information.

            19.    An individual with a security clearance and a need-to-know as determined by any

   government entity is not automatically authorized to disclose any classified information to any

   other individual, even if that other individual also has a security clearance.   Rather, any individual

   who receives classified information may only disclose that information to an individual who has

   been determined by the CISO, in consultation with the appropriate government entity, to have both

   the required security clearance and a need-to-know the information.

            20.    In addition, before the United States government discloses any classified

   information to the defense and/or the Defendants, all will execute the Memorandum of

   Understanding attached hereto.      Defendants’ counsel and the Defendants agree they are subject

   to the terms of this Protective Order, the Memorandum of Understanding attached hereto, and any

   other Orders of this Court.    The signed Memorandum of Understanding shall be filed with the

   Court and executed copies of the Memorandum of Understanding shall be served upon the

   government.     The substitution, departure, or removal for any reason from this case of any counsel

   for the Defendants or any other member of the defense, shall not release that individual from the

   provisions of this Order or the Memorandum of Understanding executed in connection with this

   Order.

            21.    Secure Area of Review. The CISO shall establish procedures to assure a SCIF is

   accessible during business hours to the defense, and at other times upon reasonable request as

   approved by the CISO in consultation with the Court and United States Marshals Service.            The

   SCIF shall contain a working area for the defense and will be outfitted with any secure office

   equipment requested by the defense that is reasonable and necessary to the preparation of the

   Defendants’ case.    The CISO, in consultation with counsel for the Defendants, shall establish

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    procedures to assure that the SCIF may be maintained and operated in the most efficient manner

    consistent with the protection of classified information and in compliance with security

    requirements.     No classified documents, material, recordings, or other information may be

    removed from the SCIF unless so authorized by the CISO.      The CISO and his designees shall not

    reveal to the government the content of any conversations he may hear among the defense, nor

    reveal the nature of the documents being reviewed, or the work being generated.      The presence

    of the CISO or any of his designees shall not operate to waive, limit, or otherwise render

    inapplicable, the attorney-client privilege.

            22.     Filings with the Court. Any pleading or other document filed by the defense that

    Defendants’ counsel knows or reasonably should know contains classified information as defined

    in paragraph 3(c) shall be filed as follows:

                    a.   Pleadings and other documents shall be filed under seal with the CISO or an

    appropriately cleared designee and shall be marked, “Filed in Camera and Under Seal with the

    Classified Information Security Officer.” The time of physical submission to the CISO or an

    appropriately cleared designee shall be considered the date and time of filing and should occur no

    later than 4:00 p.m.     Within a reasonable time after making a submission to the CISO or an

    appropriately cleared designee, the defense shall file on the public record in the CM/ECF system

    a “Notice of Filing” notifying the Court that the submission was made to the CISO or an

    appropriately cleared designee.      The notice should contain only the case caption and an

    unclassified title of the filing.

                    b.   The CISO or an appropriately cleared designee shall immediately deliver under

    seal to the Court and counsel for the government any pleading or document to be filed by the

    defense that contains classified information, unless the pleading or document is an ex parte and in


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    camera filing.    The CISO shall promptly consult with representatives of the appropriate agencies

    to determine whether the pleading or document contains classified information.              If it is

    determined that the pleading or document contains classified information, the CISO shall ensure

    that the pleading or document is marked with the appropriate classification markings and that the

    pleading or document remains under seal.

            23.      Filing of Papers by the Government.    Any pleading or other document filed by the

    government that counsel for the government knows or reasonably should know contains classified

    information as defined herein, shall be filed as follows:

                     a.   The document shall be filed under seal with the CISO or an appropriately

    cleared designee and shall be marked, “Filed in Camera and Under Seal with the Classified

    Information Security Officer.”     The time of physical submission to the CISO or an appropriately

    cleared designee shall be considered the date and time of filing and should occur no later than 4:00

    p.m.    Within a reasonable time after making a submission to the CISO, counsel for the

    government shall file on the public record in the CM/ECF system a “Notice of Filing” notifying

    the Court that the submission was made to the CISO. The notice should contain only the case

    caption and an unclassified title of the filing.

                     b.   The CISO shall immediately deliver under seal to the Court and counsel for the

    defense any pleading or document to be filed by the government that contains classified

    information, unless the pleading or document is an ex parte filing.

            24.      Record and Maintenance of Classified Filings.     The CISO shall maintain a

    separate sealed record for those materials which are classified.      The CISO shall be responsible

    for maintaining the secured records for purposes of later proceedings or appeal.

            25.      The Classified Information Procedures Act.    Procedures for public disclosure of

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    classified information in this case shall be those established by CIPA.   The defense shall comply

    with the requirements of CIPA Section 5 prior to any disclosure of classified information during

    any proceeding in this case.     As set forth in Section 5, the defense shall not disclose any

    information known or believed to be classified in connection with any proceeding until notice has

    been given to counsel for the government and until the government has been afforded a reasonable

    opportunity to seek a determination pursuant to the procedures set forth in CIPA Section 6, and

    until the time for the government to appeal any adverse determination under CIPA Section 7 has

    expired or any appeal under Section 7 by the government is decided.       Any conferences with the

    Court involving classified information shall be conducted in camera in the interest of the national

    security, be attended only by persons granted access to classified information and a need-to-know,

    and the transcripts of such proceedings shall be maintained under seal.

           26.     Access to Classified Information.        In the interest of the national security,

    representatives of the defense granted access to classified information shall have access to

    classified information only as follows:

                   a.   All classified information produced, possessed, created or maintained by the

    defense, including notes and any other work product, and all classified information disclosed by

    the United States government to the defense, shall be stored, maintained and used only in the SCIF

    established by the CISO, unless otherwise authorized by the CISO.

                   b.   Special procedures for audio recordings. Any classified audio recordings that

    the government discloses to the defense shall be maintained by the CISO in the SCIF.          Such

    recordings may only be reviewed on a stand-alone, non-networked computer or other device within

    the SCIF that does not have the capability to duplicate or transmit information.   The defense must




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    use headphones to review such recordings and the headphones must be wired and not have any

    wireless capability.

                   c.   The defense shall have free access to the classified information in the SCIF

    established by the CISO and shall be allowed to take notes and prepare documents with respect to

    those materials.

                   d.      The defense shall not copy or reproduce any classified information in any

    manner or form, except with the approval of the CISO and in accordance with the procedures

    established by the CISO for the operation of the SCIF.

                   e.       All documents prepared by the defense (including, without limitation,

    pleadings or other documents intended for filing with the Court) that do or may contain classified

    information must be prepared in the SCIF on word processing equipment approved by the CISO.

    All such documents and any associated materials (such as notes, drafts, copies, typewriter ribbons,

    magnetic recordings, exhibits, thumb drives, discs, CDs, DVDs exhibits, and electronic or digital

    copies) that may contain classified information shall be maintained in the SCIF unless and until

    the CISO determines those documents or associated materials are unclassified in their entirety, or

    if secure removal is authorized by the CISO.     None of these materials shall be disclosed to counsel

    for the government or any other party.

                   f.   The defense shall discuss classified information only within the SCIF or in an

    area authorized by the CISO.

                   g.      The defense shall not disclose, without prior approval of the Court, classified

    information to any person not named in this Order except to the Court, Court personnel, and

    government personnel identified by the CISO as having the appropriate clearances and the need-

    to-know. Counsel for the government shall be given an opportunity to be heard in response to



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    any defense request for disclosure to a person not identified in this Order.   Any person approved

    by this Court for access to classified information under this paragraph shall be required to obtained

    the appropriate security clearance, to sign and submit to this Court the Memorandum of

    Understanding appended to the Order, and to comply with all the terms and conditions of the

    Order.    As set forth above, the defense shall not disclose classified information, even to an

    individual with the appropriate security clearance, without following the procedures referenced in

    this Order.

                   h.    The defense shall not discuss classified information over any standard

    commercial telephone instrument or office intercommunication systems, including but not limited

    to the Internet and electronic mail, or in the presence of any person who has not been granted

    access to classified information by the Court.

                   i.   Any documents written by the defense that do or may contain classified

    information shall be transcribed, recorded, typed, duplicated, copied, or otherwise prepared only

    by persons who have received an appropriate approval for access to classified information.

                   j.   The defense shall not disclose classified information to the Defendants—other

    than materials marked “Provided to DONALD J. TRUMP in United States v. Trump et al., 23-

    80101-CR-CANNON”; or “Provided to WALTINE NAUTA in United States v. Trump et al., 23-

    80101-CR-CANNON”—absent written permission of the government.

             27.   Any unauthorized disclosure or mishandling of classified information may

    constitute violations of federal criminal law.   In addition, any violation of the terms of this Order

    shall be brought immediately to the attention of the Court and may result in a charge of contempt

    of Court and possible referral for criminal prosecution.   Any breach of this Order may also result

    in termination of an individual’s access to classified information.    Persons subject to this Order



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    are advised that direct or indirect unauthorized disclosure, retention or handling of classified

    documents or information could cause serious damage, and in some cases exceptionally grave

    damage, to the national security of the United States, or may be used to the advantage of a foreign

    nation against the interests of the United States.    The purpose of this Order is to ensure that those

    authorized to receive classified information in connection with this case will never divulge that

    information to anyone not authorized to receive it.

           28.     All classified documents and information to which the defense has access in this

    case are now and will remain the property of the United States.        Upon demand of the CISO, all

    persons shall return to the CISO all classified information in their possession obtained through

    discovery from the government in this case, or for which they are responsible because of access to

    classified information.   The notes, summaries, and other documents prepared by the defense that

    do or may contain classified information shall remain at all times in the custody of the CISO for

    the duration of the case.     At the conclusion of this case, including any appeals or ancillary

    proceedings thereto, all such notes, summaries, and other documents are to be destroyed by the

    CISO in the presence of counsel for the Defendants if they choose to be present.

           29.     Nothing contained in this Order shall be construed as a waiver of any right of the

    Defendants.    No admission made by the Defendants or their counsel during pretrial conferences

    may be used against the Defendants unless it is in writing and signed by the Defendants.           See

    CIPA § 2.

           30.     A copy of this Order shall be issued forthwith to counsel for the Defendants who

    shall be responsible for advising the Defendants and representatives of the defense of the contents

    of this Order. Counsel for the Defendants, the Defendants, and any other representatives of the

    defense who will be provided access to the classified information shall execute the Memorandum



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    of Understanding described herein, and the Defendants and counsel for the Defendants shall file

    executed originals of such documents with the Court and the CISO and serve an executed original

    upon the government. The execution and filing of the Memorandum of Understanding is a

    condition precedent for the Defendants, counsel for the Defendants, and any other representative

    of the defense to have access to classified information.

           SO ORDERED this _______ day of July 2023.




                                                  ____________________________________
                                                  HON. AILEEN M. CANNON
                                                  UNITED STATES DISTRICT COURT JUDGE




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                  CASE NO. 23-80101-CR-CANNON


    UNITED STATES OF AMERICA,

           Plaintiff,

    v.

    DONALD J. TRUMP and
    WALTINE NAUTA,

          Defendants.
    ________________________________/

                        MEMORANDUM OF UNDERSTANDING REGARDING
                           RECEIPT OF CLASSIFIED INFORMATION


           Having familiarized myself with the applicable statutes, regulations, and orders, including

    but not limited to, Title 18, United States Code, sections 793, 794, 798, and 1924; the Intelligence

    Identities Protection Act, Title 50 U.S.C. Section 3121; Title 18 U.S.C. Section 641; Title 50

    U.S.C. Section 783; the Atomic Energy Act, Title 42 U.S.C. sections 2014 and 2274; and

    Executive Order 13526, I understand that I may receive information or documents concerning the

    present and future security of the United States and which belong to the United States, and that

    such documents and information together with the methods and sources of collecting it are

    classified by the U.S. Government.     In consideration of the disclosure of classified information

    and documents:

           1.      I agree that I shall never divulge, publish, or reveal either by word, conduct or any

    other means, such classified documents and information unless specifically authorized in writing

    to do so by an authorized representative of the U.S. Government; or as expressly authorized by the

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    Court pursuant to the Classified Information Procedures Act and the Protective Order entered in

    the criminal case, United States v. Trump et al., 23-80101-CR-CANNON.

           2.      I agree that this Memorandum will remain forever binding on me.

           3.      I have received, read, and understand the Protective Order entered by the United

    States District Court for the Southern District of Florida in the criminal case United States v. Trump

    et al., 23-80101-CR-CANNON, relating to classified information, and I agree to comply with the

    provisions thereof.

           4.      I understand that any prior contractual obligations that may bind me to continue to

    protect classified information remain in full force and effect, and are not superseded by this

    Memorandum of Understanding.            Additionally, I understand that this Memorandum of

    Understanding does not absolve me of any criminal or civil penalties that may otherwise be

    imposed upon me as a result of my unauthorized disclosure of classified information.




    ____________________________                                          ________________

    Counsel for Defendant                                                 Date



    ____________________________                                          _________________

    Defendant                                                             Date




                                                     18
